                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                              CENTRAL DIVISION

RIA SCHUMACHER,                             )
Individually And on Behalf Of All           )
Others,                                     )
                                            )          Civil Action
                   Plaintiffs,              )
                                            )          Case No. 2:16-cv-04078-NKL
       v.                                   )
                                            )          Jury Trial Demanded
SC DATA CENTER, INC. d/b/a                  )
COLONY BRANDS, INC.,                        )
                                            )
                   Defendant.

                                 MOTION TO DISMISS

       Defendant SC Data Center, Inc. (“SC Data”) respectfully moves this Court to

dismiss the Complaint of Ria Schumacher in its entirety pursuant to Rule 12(b)(1) and

Rule 12(h)(3) of the Federal Rules of Civil Procedure because Plaintiff lacks Article III

standing to bring her claims for herself or a class of similarly situated individuals because

she has not pleaded and cannot establish concrete or particularized injury. In support

thereof and as more fully set forth in its memorandum of law which is filed herewith and

incorporated herein by reference, states as follows:

       1.      On May 16, 2016, the United States Supreme Court issued its decision in

Spokeo, Inc. v. Robins, 578 U.S. ___, 136 S.Ct. 1540 (2016).

       2.      Spokeo makes clear that the Plaintiff—who has not alleged and cannot

establish a concrete or particularized injury as a result of alleged SC Data’s actions—

lacks Article III standing.

       3.      Although on May 12, 2016, the parties reached a conditional settlement, it

was “contingent upon court approval,” which approval is mandated by Rule 23(e) of the

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Federal Rules of Civil Procedure. At the time of the Spokeo ruling, the settlement was not

approved or even presented to the Court.

        4.      Because of Plaintiff’s lack of standing, this Court has a subject matter

jurisdictional bar on taking any further substantive action in this case, including

approving the settlement agreement.

        5.      Without approval of the settlement agreement, SC Data cannot obtain the

value of a settlement.

        6.      As such, this Court should stay any and all activities in this case pending

resolution of this Motion, and upon consideration of the pleadings and the lack of harm to

the Plaintiff, dismiss the case.

        WHEREFORE, SC Data Center, Inc. prays the Court dismiss Plaintiffs’

Complaint with prejudice for lack of subject matter jurisdiction, taxing costs in favor of

SC Data Center, Inc. and against Plaintiff, and for such other and further relief as the

Court finds just or necessary.

        Dated this 15th day of July, 2016




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                                       Respectfully submitted:

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                            CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2016 the foregoing was filed electronically with
the Clerk of the Court to be served by operation of the Court’s electronic filing system
upon:


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